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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                )
                                         )
                    Plaintiff,           )                  4:10CR3031
                                         )
             v.                          )
                                         )
WILSON ANTONIO GARCIA-                   )                MEMORANDUM
PANAMA,                                  )                 AND ORDER
                                         )
                    Defendant.           )
                                         )


      Wilson Antonio Garcia-Panama (Panama) filed a Motion to Vacate under 28
U.S.C. § 2255. After initial review 1, I deny the motion and dismiss it with prejudice.


      Without a plea agreement, Panama entered a guilty plea to a methamphetamine
conspiracy. He was represented by Jerry Hug, an extremely experienced and zealous
criminal defense lawyer who was appointed by the court.           Although Panama’s
criminal history category was I, he did not qualify for the safety-valve because he
gave a safety-valve interview that contradicted the admissions he made when he
entered his guilty plea. (E.g., filing no. 211 at CM/ECF p. 3 (sentencing transcript
indicating Panama declined to present evidence on his objection to the lack of a


      1
       Rule 4(b) of the Rules Governing Section 2255 Proceedings for the United
States District Courts provides:

              The judge who receives the motion must promptly examine it. If
      it plainly appears from the motion, any attached exhibits, and the record
      of prior proceedings that the moving party is not entitled to relief, the
      judge must dismiss the motion and direct the clerk to notify the moving
      party. If the motion is not dismissed, the judge must order the United
      States attorney to file an answer, motion, or other response within a fixed
      time, or to take other action the judge may order.
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safety-valve reduction); filing no. 152 at CM/ECF p. 8 (government’s brief noting
Panama vaguely inculpated only one person (“Roberto”) during the safety-valve
interview in contradiction to his statements during Rule 11 proceedings); filing no.
115 at CM/ECF pp. 26-27 (guilty plea transcript where Panama specifically inculpated
Marvin Solis and Dante Vicharra)). After Hug’s objection to drug quantity and
motion for variance were argued and denied, Panama was sentenced to 87 months in
prison. Panama appealed with the assistance of Hug, but the appeal was denied on
August 12, 2011. This timely motion was filed on June 7, 2012.


      Panama makes three claims. In claims one and three, Panama asserts that his
lawyer was ineffective. Summarized and condensed, Panama attacks his lawyer for
failing to argue that the defendant was entitled to the safety-valve2 and because his
lawyer failed to argue that a lower sentence was warranted particularly because of
Panama’s minor participation. In claim two, Panama essentially argues that his
sentence was unreasonable particularly because it was longer than the sentence a
another defendant received.


      It plainly appears from the motion, any attached exhibits, and the record of prior
proceedings that Panama is not entitled to relief. A brief explanation follows.


      Panama argues that defense counsel was ineffective at sentencing. Therefore,
the Strickland standard must be applied.       Strickland v. Washington, 466 U.S. 668,
688, 694 (1984) (announcing principles for evaluation of claims of ineffective
assistance of counsel under the Sixth Amendment). In order to prevail on a claim that
defense counsel rendered ineffective assistance of counsel under Strickland, the
claimant must establish two things. He or she must establish (1) that “‘counsel’s




      2
        As noted earlier, Hug lodged an objection on this ground, but did not press it
at sentencing.

                                           2
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representation fell below an objective standard of reasonableness,’”3 and (2) that
“‘there is a reasonable probability that, but for counsel’s unprofessional errors, the
result of the proceeding would have been different.’”4 Nguyen v. United States, 114
F.3d 699, 703-04 (8th Cir. 1997) (quoting Strickland, 466 U.S. at 688, 694.)


       An evidentiary hearing is unnecessary if the claimant makes an insufficient
preliminary showing on either or both prongs or the record clearly contradicts the
claimant’s showing on either or both prongs. Engelen v. United States, 68 F.3d 238,
240 (8th Cir. 1995) (affirming denial of § 2255 motion without a hearing in the face
of an ineffective assistance of counsel claim; stating that no evidentiary hearing is
required where “(1) the petitioner’s allegations, accepted as true, would not entitle the
petitioner to relief, or (2) the allegations cannot be accepted as true because they are
contradicted by the record, inherently incredible, or conclusions rather than statements
of fact.”).


       As to claim one regarding Hug’s failure to press a safety-valve objection at the
sentencing hearing, it is clear that Hug’s tactical decision was sensible and that there
was no prejudice. After all, the record established that Panama fingered Marvin Solis


       3
       A judge’s “scrutiny of counsel’s performance must be highly deferential” and
the judge must “indulge a strong presumption that counsel’s conduct falls within the
range of reasonable professional assistance.” Reed v. United States, 106 F.3d 231,
236 (8th Cir. 1997). In other words, a judge should make “every effort” to “eliminate
the distorting effects of hindsight” by examining the lawyer’s performance from
“counsel’s perspective at the time” of the alleged error. Strickland, 466 U.S. at 689.
       4
       A “reasonable probability” is less than “more likely than not,” Kyles v. Whitley,
514 U.S. 419, 434 (1995), but it is more than a possibility. White v. Roper, 416 F.3d
728, 732 (8th Cir. 2005). It must be compelling enough to “undermine confidence in
the outcome.” Strickland, 466 U.S. at 694. “This requires showing that counsel
made errors so serious that counsel was not functioning as the ‘counsel’ guaranteed
the defendant by the Sixth Amendment.” Id. at 687.


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and Dante Vicharra when questioned by Judge Zwart during the Rule 11 proceedings,
but Panama refused to acknowledge those admissions when he gave the safety-valve
interview. Hug had no chance to win the safety-valve argument, and he sensibly
elected to go quietly rather than risk Panama being painted in an even worse light as
a result of Panama’s lack of candor during the safety-valve interview. As for the
claim that Hug made other sentencing errors–such as by failing to assert that Panama
was a minor or minimal participant–this claim is frivolous. The undisputed record
(e.g., filing no. 169 at CM/ECF pp. 4-7 and ¶¶ 15-24) establishes that Panama was “up
to ears” in this conspiracy. Moreover, Hug filed a motion for variance and an
objection to drug quantity.     Hug asserted Panama’s only plausible sentencing
argument–that Panama should not be held responsible for the drug quantity attributed
to him by the probation officer or that the drug quantity, if relied upon, resulted in a
sentence that was greater than necessary. In short, Hug performed up to the standard
expected of lawyers and his actions or inactions did not prejudice Panama.


      Claim two–that his sentence was unreasonable particularly because it was
longer than the sentence another defendant received–is also lacking in merit. That
issue was thoroughly hashed out by the Court of Appeals, and Panama lost. (Filing
no. 249 at CM/ECF p. 2-4 (opinion in United States v. Panama, No. 10-3469 (8 th Cir.,
August 12, 2011).) Panama may not litigate again in this section 2255 proceeding a
claim that was presented to the Court of Appeals on direct appeal and denied. See,
e.g., United States v. Davis, 406 F.3d 505, 511 (8 th Cir. 2005) (an issue raised and
decided against a moving defendant on direct appeal will not be reconsidered on a
motion under § 2255 even though it may be presented “in different clothes . . . .”).


      IT IS ORDERED that:


      1.     Panama’s motion for leave to proceed in forma pauperis (filing no. 286)
             is granted.




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         2.        Panama’s motion to vacate under 28 U.S.C. § 2255 (filing no. 284) is
                   denied and the motion is dismissed with prejudice.


         3.        A separate judgment will be issued.


         DATED this 18 th day of June, 2012.


                                                          BY THE COURT:

                                                          Richard G. Kopf
                                                          Senior United States District Judge




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